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Attorheysfor Plainti]Y and the Class

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

BERTA MARTIN DEL CAMPO
ludividuany and on Behalf of Alf
Others Similarly Situated,

Plaintiff,
V.

HOMETOWN BUFFET, INC., a
Minnesota Co oration; OCB
RESTAURA COMPA__NY, LLC, a
Minnesota Limited Liablllg' Comjln)an]\é;
OVATION BRANDS, IN .; and 0 S
1-50, Inclusive,

Defendants.

 

 

Case No. 2:14-cv-04378 (RGK) SHX
CLASS ACTION

S ORDER GRANTING
LAINTIFF’ MOTIONS FOR
FINAL APPROVAL OF CLASS
ACTION SETTLEMENT AND
ATTORNEYS’ FEES, COSTS AND
SERVICE AWARD AND
JUDGMENT

D_ate: January ll, 2016
Tlme: 9:00 A.M.
Crtrm.: 850 (Roybal)

Assigned to the Hon. R. Ga Klausner

and to Magistral‘e Stephen . Hl'llman
for Dz`scoverjy Matters

Trial Date: June 14, 2016

Case No. 2:14-cv-04378 (RGK) SHX

 

[PROPOSED] ORDER GRANTING PLAINTIFF ’S MOTIONS FOR FINAL APPROVAL
OF CLASS ACTION SETTLEMENT AND ATTORNEYS’ FEES, COSTS AND SERVICE AWARD

 

 

 

 

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The Honorable R. Gary Klausner, District Court J`udge for the United States
District Court, Central District of California, Western Division, held a hearing on
the unopposed Motion for an Order Granting Final Approval of Class Action
Settlement and unopposed Motion for Attorneys’ Fees, Costs, and Service Award,
filed by Plaintif`f` Berta Martin Del Campo (“Plaintiff”) in the above-entitled matter,
on Monday, January 11, 2016, at 9:00 a.m., in Courtroom 850 of` the United States
District Court for the Central District of California, Western Division, located at the
Edward R. Roybal Federal Building and United States Courthouse, 255 East Temple
Street, Los Angeles, California 90012. Due and adequate noticed was given to the
Class, as defined below, of this hearing. The Court, having considered all of the
arguments raised by Counsel in support of the Motions, and any objections received
to the proposed settlement, now issues the following findings and orders.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

1. The Court maintains jurisdiction over this Action, Del Campo v.
Hometown Bu/j”et, Inc., Case No. 2:14-cv-04378 (RGK) SHX pursuant to the Class
Action Faimess Act of 2005 (“CAFA”), 28 U.S.C. 1332(d), and over Plaintiff,
Defendants Hometown Buf`f`et, Inc. and OCB Restaurant Company, LLC
(“Defendants”), and all members of the Class, defined as:

All current and former non-exempt, non-managerial employees

employed by Hometown Buffet, Inc. and/or OCB Restaurant Company,

LLC (“Defendants”) in Calif`ornia at any time between July 19, 2012

and March 31, 2015. (“Class”) ` `

2. The term “Stipulation” shall refer to the Joint Stipulation Re: Class
Action Settlement and Release submitted by Plaintif`f in support of the Motions, and
all terms used herein shall have the same meaning as the terms defined in the
Stipulation unless otherwise stated in this Order.

3. The Court grants final approval of the terms of the Stipulation because

it meets the criteria for final settlement approval. The settlement described in the

2 Case No. 2:14-cv-04378 (RGK) SHX

[PROPOSED] ORDER GRANTING PLAINTIFF’S MOTIONS FOR FINAL APPROVAL
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Stipulation falls within the range of possible approval and is fair, adequate, and
reasonable. It results from an arm’s length, informed negotiation by counsel for the
parties. It treats all members of the Class fairly.

4. Notice by First Class U.S. Mail of the Notice Packets, consisting of the
Court-approved Notice, Claim Form, and Request for Exclusion Form, constituted
the best practicable notice to all Class members of the settlement, as set forth in the
Stipulation, under the circumstances and fully complied with due process

requirements under the United States Constitution, Federal Rules of Civil Procedure,

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the law of the State of California, and other applicable laws. Based on the evidence

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submitted in conjunction with the hearing on the Motions, the Court determines that

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Notice was adequate. These papers informed members of the Class of the terms of

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the settlement, their right to claim a share of the settlement proceedings, their right

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to request exclusion from the settlement, and their right to object to the settlement or

the Motion for Attorneys’ Fees, Costs and Service Award (“Fees Motion”), as well

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as their right to appear in person or by counsel at the Final Approval hearing and to

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be heard regarding approval of the settlement and the Fees Motion. Adequate and

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sufficient periods of time were provided for each of these procedures A full

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opportunity was afforded to the Class members to participate in the Final Approval

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hearing. No member of the Class objected to the Stipulation or the Fees Motion. A

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total of 95 members of the Class requested exclusion from the settlement

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Accordingly, the Court determines that all Class members who did not timely and

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validly exclude themselves from the settlement are bound by this Order and

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Judgment.

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5. The Court finds, for settlement purposes only, that the Class satisfies
the applicable standards for certification under Rules 23 (a) and 23(b)(3) of the

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Federal Rules of Civil Procedure, and incorporates by reference herein all reasons

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set forth in the Court’s Preliminary Approval Order for granting final approval to

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certify the Class defined above. Because the Class is being certified for settlement

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[PROPOSED] ORDER GRANTING PLAINTIFF’S MOTIONS FOR FINAL APPROVAL
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purposes, the Court need not and will not address the manageability requirement of
Rule 23(b)(3). See Anchem Products, Inc. v. Windsor, 521 U.S. 591 (1997).

6. The Court approves the settlement, and each of the releases and other
terms set forth in the Stipulation as fair, reasonable, and adequate as to the Class
members Who did not timely and validly request exclusion, the Plaintiff, and
Defendants. The Plaintiff, Defendants, and the Claims Administrator are directed to
perform in accordance with the terms set forth in the Stipulation.

7 . With the exception of any individual member of the Class who validly

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and timely requested exclusion, all of the claims asserted are dismissed with

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prejudice as to the Plaintiff and the members of the Class. The parties are to bear

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their own fees and costs except as otherwise provided in the Stipulation and herein.

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8. By this Judgment, Plaintiff and all members of the Settlement Class,

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except for Class members who timely and validly requested exclusion, regardless of

whether the Class members submitted timely, Valid claim forms or not, hereby

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release Defendants and the Released Parties as defined in the Stipulation from the

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Released Claims as defined in the Stipulation.

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9. By this Judgment, the Settlement Class members and Class Counsel

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shall be deemed to have released all claims for attomeys’ fees and costs incurred in

connection With this Action and settlement thereof.

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10. The Action is dismissed on the merits and with prejudice, permanently

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barring the Settlement Class members from prosecuting any Released Claims. The

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Court reserves and retains exclusive and continuing jurisdiction over the above-

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captioned matter, the Plaintiff, the Settlement Class, and Defendants for the purpose

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of supervising the implementation, effectuation, enforcement, construction,

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administration, and interpretation of the Stipulation and this Judgment.

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11. The Court determines that the plan of allocation for payment of the Net

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Settlement Amount as set forth in the Stipulation is fair and reasonable and that

distribution of the Net Settlement Amount to the Settlement Class shall be done in

4 Case No. 2:14-cv-04378 (RGK) SHX

[PROPOSED] ORDER GRANTING PLAINTIFF’S MOTIONS FOR FINAL APPROVAL
OF CLASS ACTION SETTLEMENT AND ATTORNEYS’ FEES, COSTS AND SERVICE AWARD

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accordance with the terms outlined in the Class Notice and Stipulation. v

12. Plaintiff, Berta Martin Del Campo, is hereby appointed Class
Representative for purposes of settlement

13. Raymond P. Boucher, Shehnaz M. Bhujwala, and Brandon K.
Brouillette of Boucher, LLP, and Sahag Majarian lI of Law Offices of Sahag
Majarian II, are appointed as Class Counsel for the Class for purposes of settlement

1`4. Defendants agree for the Settlement Administrator, CPT Group, Inc., to
pay from the Maximum Settlement Amount: (i) the Claims Administrator its
reasonable fees for its services; (ii) the PAGA Penalty Payment to the LWDA; and
(iii) the Incentive Payment to the Class Representative to reimburse him for his
valuable services to the Settlement Class.

A. The Court hereby approves the payment of settlement
administration costs in the amount of $56,500.00 to CPT Group, Inc., the Claims
Administrator, for services rendered in this matter.

B. The Court hereby approves the payment of $7,500.00 from the
Maximum Settlement Fund to the Califomia Labor Workforce Development
Agency (“LWDA”).

C. The Court also approves the Class Representative Service Award
to the Class Representative in the amount of $5,000.00, payable from the Maximum
Settlement Fund, in recognition of her service to the Class in initiating and
maintaining this litigation.

15. The Court hereby awards to Class Counsel the amount of $500,000.00
for attorneys’ fees. Based on Plaintiff’s Fees Motion, the Court determined that the
requested legal fees meets the 25% benchmark for attorneys’ fees in the Ninth
Circuit, are supported by the lodestar cross-check conducted by the Court with the
application of a reasonable multiplier of approximately 1.045, and are reasonable
based on detailed information regarding the work performed that was submitted by

Class Counsel.
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[PROPOSED] ORDER GRANTING PLAINTIFF’S MOTIONS FOR FINAL APPROVAL
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16. The Court hereby awards to Class Counsel the amount of $i6,266.16
for reimbursement of reasonable litigation costs incurred in this Action.

17. Of the attorneys’ fees and costs awarded to Class Counsel herein, the
amount of $39,381.50, representing the firm’s quantum meruit based on lodestar
hours for Khorrami, LLP, and the amount of $l,737.15, representing costs incurred
by the Khorrami firm, shall be paid into to a segregated account maintained by
Boucher, LLP f`or the benefit of the Khorrami firm’s creditors. '

18. The Court finds that the payments to the Settlement Administrator,
LWDA, the Class Representative, and Class Counsel are fair and reasonable. The
Settlement Administrator is directed to make the foregoing payments in accordance
with the terms of the Stipulation and Class Counsel’s further instructions

19. This document shall constitute a judgment pursuant to Rule 58 of the
F ederal Rules of Civil Procedure. n

IT IS SO ORDERED.

DATED: January iii 2016

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HoN. RG;AR\§ KLAUSNER

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[PROPOSED] ORDER GRANTING PLAINTIFF’S MOTIONS FOR FINAL APPROVAL
OF CLASS ACTION SETTLEMENT AND ATTORNEYS’ FEES, COSTS AND SERVICE AWARD

 

 

